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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JESSICA VASIL and CHRISTINE FARAG,                   )
 individually and on behalf of similarly situated     )
 individuals,                                         )
                                                      )
                        Plaintiffs,                   )           No. 16-cv-9937
                                                      )
                v.                                    )           Hon. John J. Tharp Jr.
                                                      )
 KIIP, INC., a Delaware corporation,                  )
                                                      )
                        Defendant.                    )
                                                      )

                  NOTICE OF VOLUNTARY DISMISSAL WITHOUT
                PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

       Plaintiffs, Jessica Vasil and Christine Farag, by and through their undersigned counsel,

give notice that this action shall be, and hereby is, dismissed without prejudice pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i), as Defendant has not served an answer nor a motion for

summary judgment. The Parties have reached an agreement in principle to resolve this matter on

a class basis, but Plaintiffs believe the Court may be divested of subject matter jurisdiction over

the proposed settlement due to the Court’s prior dismissal of Plaintiffs’ federal statutory claims

(Dkt. 21), and the Court may lack personal jurisdiction over certain class members under the

holdings of Bristol-Myers Squibb Co. v. Super. Ct. of Cal., San Francisco Cnty., 137 S. Ct. 1773

(2017) and its progeny. Should the Court lose jurisdiction over the case or certain class members

before any settlement is effectuated, the Parties would need to restart the settlement approval

process in another court after significant notice costs and expenses had already been incurred.

Accordingly, by its terms, the proposed settlement will be effectuated in state court.

Dated: February 5, 2019                                   Respectfully submitted,




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                                         JESSICA VASIL and CHRISTINE
                                         FARAG, individually and on behalf of
                                         similarly situated individuals

                                         By: /s/ Paul T. Geske

                                         Myles McGuire
                                         Paul T. Geske
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                                 CERTIFICATE OF SERVICE

          I certify that on February 5, 2019, I filed the foregoing Notice of Voluntary Dismissal

Without Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) with the Clerk of Court using the

CM/ECF system. A copy of said document will be electronically transmitted to all counsel of

record.



                                                     /s/ Paul T. Geske




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